     Case 1:19-cv-00359-JTN-SJB ECF No. 35 filed 11/22/19 PageID.160 Page 1 of 9




                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION


MARCUS IRVINE,

                Plaintiff,                                  Hon. Janet T. Neff

v.                                                          Case No. 1:19-cv-359

ARTHUR CLARKE, et al.,

            Defendants.
____________________________________/

                             REPORT AND RECOMMENDATION

         This matter is before the Court on Defendants’ Motion to Dismiss. (ECF No. 6.) Also

before the Court is Plaintiff’s Motion for Estoppel and Writ of Habeas Corpus. (ECF No. 25.)

Pursuant to 28 U.S.C. § 636(b)(1)(B), the undersigned recommends that Plaintiff’s motion be

denied and Defendants’ motion be granted.

I.       BACKGROUND

         On or about April 16, 2019, Plaintiff, Marcus Irvine, filed a pro se complaint in the 7th

District Court for Van Buren County, Michigan, against Defendants Arthur Clarke, Jay Blair, and

John Frost. Irvine alleged that Defendants violated his rights by prosecuting him for driving with

a suspended license in violation of his constitutional right to travel. (ECF No. 1-2.) On May 6,

2019, Defendants removed the case to this Court on the basis of federal question jurisdiction.

(ECF No. 1 at PageID.1–2.)

         Irvine alleges that on October 8, 2018, he was traveling through Van Buren County with a

family member when Deputy Sheriff Daniel Rowse conducted a traffic stop. Irvine alleges that

he does not have a Michigan license plate and has no intention of getting one. (ECF No. 1-2 at
 Case 1:19-cv-00359-JTN-SJB ECF No. 35 filed 11/22/19 PageID.161 Page 2 of 9



PageID.7.) Irvine was prosecuted for driving while his license was suspended. Defendant Blair

was the prosecutor, and Defendant Clarke was the judge in the state-court case. According to the

Register of Actions in Irvine’s criminal case, on December 14, 2018, Irvine entered a plea of nolo

contendere to the charge of driving while license suspended, and the Judgment of Sentence was

entered on December 19, 2018. (ECF No. 7-4 at PageID.49.)

       In addition to alleging that Defendants violated his right to travel, Irvine alleges that he did

not receive notice of a hearing and that “[t]he arbitrary and erroneous action of the judge voids the

contract [and] violates my constitutional rights by impairing my ability to contract and was a direct

neglect of oath of office.” (Id.)

II.    LEGAL STANDARD

       A Rule 12(b)(6) motion to dismiss for failure to state a claim on which relief may be

granted tests the legal sufficiency of a complaint by evaluating the assertions therein in a light

most favorable to Plaintiff to determine whether such states a valid claim for relief. See In re NM

Holdings Co., LLC, 622 F.3d 613, 618 (6th Cir. 2000).

       Pursuant to Federal Rule of Civil Procedure 12(b)(6), a claim must be dismissed for failure

to state a claim on which relief may be granted unless the “[f]actual allegations [are] enough to

raise a right for relief above the speculative level on the assumption that all of the complaint’s

allegations are true.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 545 (2007). As the Supreme

Court has held, to survive a motion to dismiss, a complaint must contain “sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

U.S. 662, 677-78 (2009). This plausibility standard “is not akin to a ‘probability requirement,’

but it asks for more than a sheer possibility that a defendant has acted unlawfully.” If the

complaint simply pleads facts that are “merely consistent with” a defendant’s liability, it “stops


                                                  2
 Case 1:19-cv-00359-JTN-SJB ECF No. 35 filed 11/22/19 PageID.162 Page 3 of 9



short of the line between possibility and plausibility of ‘entitlement to relief.’” Id. As the Court

further observed:

       Two working principles underlie our decision in Twombly. First, the tenet that a
       court must accept as true all of the allegations contained in a complaint is
       inapplicable to legal conclusions. Threadbare recitals of the elements of a cause of
       action, supported by mere conclusory statements, do not suffice. . .Rule 8 marks a
       notable and generous departure from the hyper-technical, code-pleading regime of
       a prior era, but it does not unlock the doors of discovery for a plaintiff armed with
       nothing more than conclusions. Second, only a complaint that states a plausible
       claim for relief survives a motion to dismiss. . . .Determining whether a complaint
       states a plausible claim for relief will, as the Court of Appeals observed, be a
       context-specific task that requires the reviewing court to draw on its judicial
       experience and common sense. But where the well-pleaded facts do not permit the
       court to infer more than the mere possibility of misconduct, the complaint has
       alleged - but it has not “show[n]” - “that the pleader is entitled to relief.”

Id. at 678-79 (internal citations omitted).

       When resolving a motion to dismiss pursuant to Rule 12(b)(6), the Court may consider the

complaint and any exhibits attached thereto, public records, items appearing in the record of the

case, and exhibits attached to the defendant’s motion to dismiss provided such are referenced in

the complaint and central to the claims therein. See Bassett v. National Collegiate Athletic Assoc.,

528 F.3d 426, 430 (6th Cir. 2008).

III.   ANALYSIS

       Defendants move to dismiss Irvine’s complaint on the grounds of failure to state a claim

and absolute prosecutorial and judicial immunity.

       A.      Defendant Frost

       Irvine included Defendant Frost, who is apparently the attorney for the City of Bangor, in

the summons but fails to mention him at all in the caption or body of the complaint. Given the

lack of any allegation mentioning Defendant Frost, Defendant Frost is entitled to dismissal for

failure to state a claim. See Ward v. Dunklow, No. 1:13-cv-304, 2013 WL 3336616, at *3 (W.D.


                                                 3
    Case 1:19-cv-00359-JTN-SJB ECF No. 35 filed 11/22/19 PageID.163 Page 4 of 9



Mich. July 2, 2013) (“Where a person is named as a defendant without an allegation of specific

conduct, the complaint is subject to dismissal, even under the liberal construction afforded pro se

complaints.”); Younker v. Ohio Dep’t of Rehab. & Corrs., No. 2:13-cv-746, 2013 WL 4081109, at

*2 (S.D. Ohio Aug. 13, 2013) (“Plaintiff’s failure to mention Defendant Beery in the body of his

Complaint, much less allege any facts against him, renders any purported claim against this

Defendant subject to dismissal for failure to state a claim upon which relief can be granted.”),

report & recommendation adopted, 2013 WL 4856202 (S.D. Ohio Sept. 11, 2013).

        B.     Defendant Blair

        Irvine does not indicate in his complaint whether he is suing Defendant Blair in his official

capacity or individual capacity.1 A suit against a state official in his or her official capacity is not

a suit against the official but rather is a suit against the official’s office. Will v. Mich. Dep’t of

State Police, 491 U.S. 58, 71 (1989). An official capacity suit is thus no different than a suit

against the state itself. See Matthews v. Jones, 35 F.3d 1046, 1049 (6th Cir. 1994) (“A suit against

an individual in his official capacity is the equivalent of a suit against the governmental entity.”)

Because the Eleventh Amendment prohibits suits for damages against states in federal court, see

Quern .v. Jordan, 440 U.S. 332, 342 (1979), damage claims against state officials in their official

capacities are also barred by the Eleventh Amendment. See Ernst v. Rising, 427 F.3d 351, 358

(6th Cir. 2005) (noting that Eleventh Amendment immunity “applies to actions against state

officials sued in their official capacity for money damages”) (citing Lapides v Bd. of Regents, 535




1
  In the Sixth Circuit, if a plaintiff does not specify the capacity in which he is suing the defendant,
official capacity is presumed. Whittington v. Milby, 928 F.2d 188, 193 (6th Cir. 1991). For
purposes of the instant motion, and because Defendants have raised arguments relating to
individual capacity claims, the Court will assume that Irvine intended to assert both official- and
personal-capacity claims.
                                                     4
 Case 1:19-cv-00359-JTN-SJB ECF No. 35 filed 11/22/19 PageID.164 Page 5 of 9



U.S. 613, 616, 623 (2002)). Moreover, a state official sued in his official capacity is not a

“person” subject to suit for money damages under Section 1983. Will, 491 U.S. at 70–71.

       To the extent that Irvine seeks money damages against Defendant Blair in his official

capacity, his claim is barred by the Eleventh Amendment as prosecutors in Michigan are deemed

to be state agents when prosecuting state criminal charges. Cady v. Arenac Cty., 574 F.3d 334,

342–43 (6th Cir. 2009); see also Smith v. Skryzynski, No. 2:16-CV-12129, 2016 WL 3230701, at

*3 (E.D. Mich. June 13, 2016) (“Eleventh Amendment immunity applies to state employees, such

as prosecutors, judges, and court clerks who are sued in their official capacities.”).

       Defendant Blair is also entitled to absolute immunity for conduct intimately associated with

the judicial phase of the criminal process. Imbler v. Pachtman, 424 U.S. 409, 430 (1976). Courts

employ a “functional approach” to determine whether a prosecutor is acting within the scope of

his duties as a prosecutor or if he is merely giving legal advice or investigating. See Burns v.

Reed, 500 U.S. 478, 486 (1991); Buckley v. Fitzsimmons, 509 U.S. 259, 269 (1993). Prosecutorial

immunity applies to the preparation and filing of charging documents, including requests for arrest

warrants, see Kalina v. Fletcher, 522 U.S. 118, 129 (1997), as well as to the decision on whether

to prosecute a case. See Ireland v. Tunis, 113 F.3d 1435, 1446 (6th Cir. 1997). The immunity is

not defeated even if the plaintiff shows that the prosecutor acted wrongfully or maliciously. See

Grant v. Hollenbach, 870 F.2d 1135, 1138 (6th Cir. 1989). Irvine’s allegations are against

Defendant Blair acting in his role as an advocate while prosecuting the criminal case. Thus, he is

absolutely immune from Irvine’s claims.

       C.      Defendant Clarke

       For the reasons set forth above regarding Defendant Blair, Irvine’s official capacity claim

for damages against Defendant Clarke is barred by the Eleventh Amendment and because


                                                  5
 Case 1:19-cv-00359-JTN-SJB ECF No. 35 filed 11/22/19 PageID.165 Page 6 of 9



Defendant Clarke is not a “person” under Section 1983. See Bennett v. Thorburn, No. 86-1307,

1988 WL 27524, at *1 (6th Cir. Mar. 31, 1988) (affirming the district court’s conclusion that a

claim against a state-court judge in his official capacity was barred by the Eleventh Amendment);

Hall v. 71-A Dist. Court, No. 12-cv-10865, 2012 WL 1110020, at *3 (E.D. Mich. Mar. 15, 2012)

(concluding that a Michigan district court judge was a state official entitled to Eleventh

Amendment immunity on the plaintiff’s official capacity claims).

       Defendant Clarke is also immune from Irvine’s claims under the doctrine of judicial

immunity. It is well established that a judge is absolutely immune from suit seeking monetary

relief, so long as the judge was performing judicial functions. See Mireles v. Waco, 502 U.S. 9,

9–10 (1991). “[J]udicial immunity is an immunity from suit, not just from ultimate assessment

of damages.” Id. at 11. The “immunity applies to actions brought under 42 U.S.C. § 1983 to

recover for alleged deprivation of civil rights.” Stern v. Mascio, 262 F.3d 600, 606 (6th Cir.

2001). A judge is not immune (1) where the judge’s alleged actions were not taken in the judge’s

judicial capacity or (2) where the actions, although judicial in nature, were taken in the complete

absence of jurisdiction. Mireles, 502 U.S. at 11–12. “[T]he scope of the judge’s jurisdiction

must be construed broadly where the issue is the immunity of the judge. A judge will not be

deprived of immunity because the action he took was in error, was done maliciously, or was in

excess of this authority; rather, he will be subject to liability only when he has acted in the ‘clear

absence of all jurisdiction.’” Stump v. Sparkman, 435 U.S. 349, 356–57 (1978) (quoting Bradley

v. Fisher, 80 U.S. 335, 351 (1981)).

       Irvine’s allegations show that Defendant Clarke acted within his role as a judge in presiding

over the state case. Nothing in the complaint suggests that Defendant Clarke was not acting as a




                                                  6
 Case 1:19-cv-00359-JTN-SJB ECF No. 35 filed 11/22/19 PageID.166 Page 7 of 9



judicial officer or that he acted without jurisdiction. Accordingly, Defendant Clark is immune

from suit.

       D.      Failure to State a Claim

       Apart from being barred by immunities, Irvine’s claim that Michigan’s driver’s license

requirements violate his constitutional right to travel fails as a matter of law. The District of

Vermont has aptly explained why such claims lack merit:

       The Supreme Court has recognized a constitutional right to travel. See Attorney
       General of New York v. Soto-Lopez, 476 U.S. 898, 903 (1986). However, the
       constitutional right to travel guarantees citizens of one state the right to enter and
       leave other states or to be treated as welcome visitors in other states, Chavez v. Ill.
       State Police, 251 F.3d 612, 648 (7th Cir. 2001), not the right to drive a car without
       a license, Miller v. Reed, 176 F.3d 1202, 1205–06 (9th Cir. 1999). As the Ninth
       Circuit has noted, the Supreme Court, in Dixon v. Love, 431 U.S. 105, 112–16
       (1977), held that “a state could summarily suspend or revoke the license of a
       motorist who had been repeatedly convicted of traffic offenses with due process. .
       . . The Court conspicuously did not afford the possession of a driver’s license the
       weight of a fundamental right.” Miller, 176 F.3d at 1206. Indeed, the right of an
       individual to drive a vehicle is not a fundamental right; “it is a revocable privilege
       that is granted upon compliance with statutory licensing provisions.” State v.
       Skurdal, 767 P.2d 304, 307 (Mont. 1988) (collecting cases); see also Boutin v.
       Conway, 153 Vt. 558, 564 (1990); Mackey v. Montrym, 443 U.S. 1, 10 (1979) (state
       has “paramount interest” in preserving safety of public highways).

Haselton v. Amestoy, No. 1:03-CV-223, 2003 WL 23273581, at *2 (D. Vt. Nov. 4, 2003); see also

Duncan v. Cone, No. 00-5705, 2000 WL 1828089, at *2 (6th Cir. Dec. 7, 2000) (“While a

fundamental right to travel exists, there is no fundamental right to drive a motor vehicle. A burden

on a single mode of transportation simply does not implicate the right to interstate travel.” (internal

citation omitted)); Cargile v. Mich., No. 10-10072, 2010 WL 3222024, at *5 (E.D. Mich. June 18,

2010) (rejecting claim that Michigan’s driver’s license requirement infringed the plaintiff’s right

to interstate travel), report and recommendation adopted, 2010 WL 3222021 (E.D. Mich. Aug.

13, 2010).



                                                  7
 Case 1:19-cv-00359-JTN-SJB ECF No. 35 filed 11/22/19 PageID.167 Page 8 of 9



       E.      Request to Amend

       In his response, Irvine states that he is willing to dismiss his claims “if Bangor Police

Officer Mata is charged with 750.213 & 214.” (ECF No. 10 at PageID.57.) Irvine attaches a

proposed amended complaint and summons to his response, which drops all of the original

Defendants, names the City of Bangor Police and Officer Mata as defendants, and references an

incident on March 24, 2019, in which Officer Mata impounded Irvine’s vehicle because Irvine

lacked a driver’s license. (ECF No. 10-1 at PageID.64.) The undersigned recommends that

Irvine’s request be denied because Irvine did not file a motion to amend. See Lugo v. Fed. Home

Loan Mortg. Corp., No. 1:13-CV-816, 2013 WL 6147401, at *1 (W.D. Mich. Nov. 22, 2013).

Moreover, even if construed as a motion to amend, the amendment would be futile, as it relies on

the same meritless “right to travel” argument.

       F.      Motion for Estoppel and Writ of Habeas Corpus

       Irvine filed a motion titled “Motion for Estoppel and Writ for Habeas Corpus,” (ECF No.

25), in which he requests a writ of habeas corpus and estoppel “[f]rom all Ordered action of 7th

District court and all Admiralty Courts Servicing Maritime laws within the Boundaries of the

Sovereign State of Michigan.” He further states that “[j]udicial review is desperately requested

in court order for ‘payment’ of ‘money’ in the amount of $325.00 for DWLS or stay in the county

jail 32 days has been ordered.”

       The undersigned recommends that the motion be denied because it runs afoul of the

Younger abstention doctrine, which requires a federal court to abstain when: (1) there are ongoing

state judicial proceedings; (2) those proceedings implicate important state interests; and (3) the

state proceedings afford an adequate opportunity to raise constitutional challenges. Squire v.

Coughlan, 469 F.3d 551, 555 (6th Cir. 2006). Here, the underlying state criminal proceeding


                                                 8
 Case 1:19-cv-00359-JTN-SJB ECF No. 35 filed 11/22/19 PageID.168 Page 9 of 9



satisfies all of the requirements for Younger abstention. In addition, given that Irvine sought

money damages in his original complaint and referred to Section 1983 in both his response to

Defendants’ motion to dismiss and in his proposed amended complaint, it is unnecessary to

recharacterize Irvine’s complaint as a habeas petition based on his motion. See Young Bok Song

v. Gipson, 423 F. App’x 506, 509–10 (6th Cir. 2011) (declining to impose a duty on district courts

to recharacterize pro se Section 1983 complaints as habeas petitions).

IV.    CONCLUSION

       For the reasons articulated herein, the undersigned recommends that Plaintiff’s Motion for

Estoppel and Writ for Habeas Corpus (ECF No. 25) be denied, Defendants’ Motion to Dismiss

(ECF No. 6) be granted, and the complaint dismissed with prejudice.

       OBJECTIONS to this Report and Recommendation must be filed with the Clerk of Court

within 14 days of the date of service of this notice. 28 U.S.C. § 636(b)(1)(C). Failure to file

objections within the specified time waives the right to appeal the District Court’s order. See

Thomas v. Arn, 474 U.S. 140 (1985); United States v. Walters, 638 F.2d 947 (6th Cir.1981).



Dated: November 22, 2019                                     /s/ Sally J. Berens
                                                            SALLY J. BERENS
                                                            U.S. Magistrate Judge




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